             CaseCase  21-1404, Document 186,
                  3:21-cv-00158-DNH-ML        06/02/2022,
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MANDATE
                                                                                                             N.D.N.Y.
                                                                                                             21-cv-158
                                                                                                               Hurd, J.

                                United States Court of Appeals
                                                         FOR THE
                                                 SECOND CIRCUIT
                                                 _________________

                 At a stated term of the United States Court of Appeals for the Second
    Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
    in the City of New York, on the 22nd day of November, two thousand twenty-one.

    Present:
                     Richard C. Wesley,
                     Joseph F. Bianco,
                           Circuit Judges.*

    Lutfallah T. Sawabini,

                                       Plaintiff-Appellant,
                     v.                                                                    21-1404

    Ryan McConn, (McConn), et al.,

                                       Defendants-Appellees,

    MLMIC Insurance Company,
    (MLMIC) Vicariously Liable Insurance Company,

                                       Defendant.

    Appellant, pro se, moves for various relief, seeking “appellate review,” sanctions, and to participate
    in the Civil Appeal Mediation Program. Upon due consideration, it is hereby ORDERED that the
    motions are DENIED and the appeal is DISMISSED because it “lacks an arguable basis either in
    law or in fact.” Pillay v. INS, 45 F.3d 14, 16 (2d Cir. 1995) (per curiam) (quoting Neitzke v.
    Williams, 490 U.S. 319, 325 (1989).

                                                        FOR THE COURT:
                                                        Catherine O’Hagan Wolfe, Clerk of Court




    * Judge Pooler has recused herself from consideration of this motion. Pursuant to Second Circuit Internal Operating
    Procedure E(b), the matter is being decided by the two remaining members of the panel.
MANDATE ISSUED ON 06/02/2022
